       Case 2:19-cv-05238-JJT-JZB Document 27 Filed 10/02/20 Page 1 of 3




                   UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
Name of U.S. District Court:                 Arizona

U.S. District Court case number: CV-19-05238-PHX-JJT (JZB)

Date case was first filed in U.S. District Court: September 20, 2019

Date of judgment or order you are appealing:                       August 4, 2020
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Steve Boggs; Mike Gallardo; Rodney Hardy; Alvie Kiles; Gilbert Martinez;
  Pete Rogovich; Sammantha Allen; Johnathan Burns; Alan Champagne; Andre
  Leteve; Brad Lee Nelson; Steven Parker; Wayne Prince; and the Office of the
  Federal Public Defender for the District of Arizona

Is this a cross-appeal?          Yes           No
If Yes, what is the first appeal case number?

Was there a previous appeal in this case?                      Yes           No
If Yes, what is the prior appeal case number?

Your mailing address:
Orrick, Herrington & Sutcliffe LLP

405 Howard Street

City: San Francisco                           State: CA               Zip Code: 94105

Prisoner Inmate or A Number (if applicable):

Signature       /s/ Darren S. Teshima                                   Date 10/2/2020
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 12/01/2018
       Case 2:19-cv-05238-JJT-JZB Document 27 Filed 10/02/20 Page 2 of 3




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Steve Boggs; Mike Gallardo; Rodney Hardy; Alvie Kiles; Gilbert Martinez; Pete
Rogovich; Sammantha Allen; Johnathan Burns; Alan Champagne; Andre Leteve;
Brad Lee Nelson; Steven Parker; Wayne Prince; (continued next page)
Name(s) of counsel (if any):
Darren S. Teshima; Rebecca C. Harlow; Elizabeth Moulton; (continued next
page)


Address: 405 Howard Street, San Francisco, CA 94105
Telephone number(s): (415) 773-5700
Email(s): dteshima@orrick.com; rharlow@orrick.com; emoulton@orrick.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
United States Department of Justice and William P. Barr, in his official capacity
as United States Attorney General

Name(s) of counsel (if any):
Michael Bailey; Anne E. Nelson



Address: 40 North Central Avenue, Suite 1800
Telephone number(s): (602) 514-7500
Email(s): Anne.Nelson@usdoj.gov


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
      Case 2:19-cv-05238-JJT-JZB Document 27 Filed 10/02/20 Page 3 of 3




Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:
(continued); Office of the Federal Public Defender for the District of Arizona

Name(s) of counsel (if any):
Paul David Meyer


Address: 405 Howard Street, San Francisco, CA 94105
Telephone number(s): (415) 773-5700
Email(s): pmeyer@orrick.com
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
